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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

                                             *
In Re:                                       *        Case No.: 21-12452
                                             *
                                             *        Chapter 13
DEBRA WESTERFELD,                            *
                                             *
                                             *
                Debtor.                      *
                                             *
*        *      *      *      *      *       *        *     *      *        *    *     *

    DEBTOR’S RESPONSE AND OPPOSITION TO COMMUNITY LOAN SERVICING
         LLC’S OBJECTION TO DEBTOR’S AMENDED CHAPTER 13 PLAN

         Debra Westerfeld, by and through her undersigned counsel, William F. Steinwedel of the

Maryland Legal Aid Bureau, hereby files this Response and Opposition to Community Loan

Servicing LLC’s (hereafter the “Movant”) Objection to the Confirmation of the Plan, and in

support thereof states as follows:

         1.     Debtor filed her Chapter 13 Bankruptcy on April 14, 2021.

         2.     On April 28, 2021, the Debtor filed an Amended Chapter 13 Plan in which they

proposed to pay $280.00 for 60 months for a total gross funding of $16,800.00.

         3.     On June 4, 2021, Movant filed an Objection to Confirmation of the Plan, stating

that the Amended Chapter 13 Plan did not provide for Community Loan Servicing LLC’s claim

and the pre-petition arrears sought in the amount of $1,030.58.

         4.     On June 10, 2021, the Debtor filed a Second Amended Chapter 13 Plan that

provided for Movant’s pre-petition arrearage claim.

         WHEREFORE, the Debtor requests that the court deny and overrule Movant Community

Loan Servicing LLC’s Objection to Confirmation of the Plan.
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                                                            /s/William F. Steinwedel
                                                            William F. Steinwedel
                                                            Maryland Legal Aid Bureau
                                                            500 E. Lexington Avenue
                                                            Baltimore, Maryland 21202
                                                            Attorney for Debtor


                             CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on June 10, 2021, I served a copy of the foregoing

electronically by CM/ECF System to:

Robert Thomas, Esquire (via CM/ECF)
300 E. Joppa Road, Suite 409
Towson, Maryland 21286
Chapter 13 Trustee

James E. Clarke, Esquire (via CM/ECF)
P.O. Box 2548
Leesburg, Virginia 20177
Attorney for Movant


                                                            /s/William F. Steinwedel
                                                            William F. Steinwedel




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